 
         Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 1 of 43 PageID #:571




                         UNITED​ ​STATES​ ​DISTRICT​ ​COURT
                  NORTHERN​ ​DISTRICT​ ​OF​ ​ILLINOIS​,​ ​EASTERN​ ​DIVISION

    ROY​ ​KELLNER​,                                       )
                                                          )
    ​ ​ ​ ​ ​ ​ ​ ​ ​ ​ ​ ​ ​ ​Plaintiff,                 )      Case​ ​No.​ ​17-cv-04048
     ​ ​vs.                                               )
                                                          )
    LAKEVIEW​ ​LOAN​ ​SERVICING,                          )
    LLC,​ ​a​ ​Delaware​ ​Limited​ ​Liability             )      Hon.​ ​John​ ​Z.​ ​Lee
    Company;​​ ​CENLAR​ ​FSB,​ ​d/b/a/                    )
    Central​ ​Loan​ ​Administration​ ​&                   )
    Reporting,​​ ​a​ ​federally​ ​chartered               )
    savings​ ​bank;​ ​and​ ​M&T​ ​BANK,​ ​a               )
    New​ ​York​ ​banking​ ​corporation,                   )
    McCALLA​ ​RAYMER​ ​LEIBERT                            )
    PIERCE,​ ​LLC​,​ ​an​ ​Illinois​ ​Limited             )
    Liability​ ​Company,                                  )
                                                          )
    ​ ​ ​ ​ ​ ​ ​ ​ ​ ​ ​ ​ ​ ​Defendants.                )

                                             FIRST​ ​AMENDED​ ​COMPLAINT

               Plaintiff, Roy Kellner, by and through counsel, for his First Amended

Complaint against defendants Lakeview Loan Servicing, LLC, Cenlar FSB, M&T

Bank,​ ​and​ ​McCalla​ ​Raymer​ ​Leibert​ ​Pierce,​ ​LLC,​ ​states​ ​as​ ​follows:

                   INTRODUCTION,​​ ​PARTIES,​ ​JURISDICTION,​ ​AND​ ​VENUE

               1.             Plaintiff Roy Kellner (referred to hereinafter as “Plaintiff” or

“Kellner”) is the owner of real property and improvements located at and

commonly​ ​known​ ​as​ ​1813​ ​Dodge​ ​Ave.,​ ​Evanston,​ ​Illinois​ ​60201​ ​(the​ ​“Home”).



                                                          1
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 2 of 43 PageID #:572




         2.       Kellner purchased the Home on October 15, 2015 as his primary,

principal residence and financed that purchase by receiving a loan as evidenced by

a note (the “Note”) and a mortgage on the Home that allegedly secures the Note

(the “Mortgage”) (collectively referred to hereinafter as the “Loan”). A copy of the

Loan​ ​is​ ​attached​ ​as​ ​Exhibit​ ​1​.

         3.       Kellner finds himself named as a defendant in a state court foreclosure

case through no fault of his own. He has timely paid each and every payment on

his Loan and has otherwise fully lived up to his obligations. The mortgage loan

servicers responsible for Kellner’s Loan paid someone else's taxes, then charged

those improper payments to Kellner. Kellner has done everything in his power to

have these errors corrected, but all efforts have been met with callous indifference.

In order to save his Home from a wrongful foreclosure, he reasonably believes he

has​ ​no​ ​other​ ​option​ ​but​ ​to​ ​bring​ ​this​ ​case.

         4.       Kellner’s Loan was originated by Movement Mortgage, LLC and

subsequently​ ​placed​ ​in​ ​a​ ​mortgage-backed​ ​security​ ​guaranteed​ ​by​ ​Ginnie​ ​Mae.

         5.       Lakeview Loan Servicing, LLC (“Lakeview”) is the servicer of the

Loan.

         6.       Cenlar FSB ​dba Central Loan Administration & Reporting (“Cenlar”)

serviced the Loan, as subservicer for Lakeview, from shortly after origination of


                                                          2
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 3 of 43 PageID #:573




the Loan, until March 2, 2017, at which time sub-servicing of the Loan was

transferred​ ​to​ ​M&T​ ​Bank.

        7.       M&T Bank has serviced the Loan, as subservicer for Lakeview, from

March​ ​2,​ ​2017​ ​to​ ​the​ ​present​ ​day.

        8.       At all relevant times, Cenlar and M&T Bank, as sub-servicers, and

Lakeview, as servicer, acted with the full authority of and as the servicing agent for

the​ ​owner​ ​of​ ​the​ ​Loan.

        9.       McCalla Raymer Leibert Pierce, LLC (“Pierce”) is a law firm retained

by or on behalf of Lakeview, M&T Bank and/or the owner of the Loan to bring a

foreclosure​ ​case​ ​in​ ​state​ ​court​ ​against​ ​Kellner.

        10.      At all relevant times, Pierce acted with the full authority and within

the​ ​scope​ ​of​ ​that​ ​authority​ ​as​ ​agent​ ​for​ ​Lakeview,​ ​M&T​ ​and​ ​the​ ​owner​ ​of​ ​the​ ​Loan.

        11.      Jurisdiction of claims against Lakeview, Cenlar, M&T Bank and

Pierce is conferred by 28 U.S.C. §1331 as this action arises under the Dodd-Frank

Wall Street Reform and Consumer Protection Act (DFA), the Real Estate

Settlement Procedures Act, 12 U.S.C. §§2601, ​et seq​. (RESPA), and the Fair Debt

Collection Practices Act, 15 U.S.C. §§1692, ​et seq​. (FDCPA). This action is filed

to enforce regulations promulgated by the Consumer Finance Protection Bureau




                                                      3
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 4 of 43 PageID #:574




(CFPB) that became effective on January 10, 2014, specifically, 12 C.F.R.

§§1024.35​ ​and​ ​1024.36​ ​of​ ​Regulation​ ​X.

         12.      This Court has supplemental jurisdiction to hear all state law claims

pursuant​ ​to​ ​28​ ​U.S.C.​ ​§1367.

         13.      Venue lies in this District pursuant to 28 U.S.C. §1391(b) as Kellner

purchased the Home for his primary residence within this District, each defendant

does business in this District, and the conduct complained of took place primarily

in​ ​this​ ​District.

                                    SUMMARY​ ​OF​ ​CLAIMS

         14.      In January 2013, the CFPB issued a number of final rules concerning

mortgage markets in the United States, pursuant to the DFA, Public Law No.

111-203,​ ​124​ ​Stat.​ ​1376​ ​(2010).

         15.      Specifically, on January 17, 2013, the CFPB issued the RESPA

Mortgage Servicing Final Rules, 78 F.R. 10695 (Regulation X) (February 14,

2013),​ ​which​ ​became​ ​effective​ ​on​ ​January​ ​10,​ ​2014.

         16.      The Loan in the instant matter is a “federally related mortgage loan”

as​ ​said​ ​term​ ​is​ ​defined​ ​by​ ​12​ ​C.F.R.​ ​§1024.2(b).

         17.      Cenlar and M&T Bank are each subject to the aforesaid regulations

and each does not qualify for the exception for “small servicers”, as such term is


                                                      4
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 5 of 43 PageID #:575




defined in 12 C.F.R. §1026.41(e)(4), nor the exemption for a “qualified lender”, as

such​ ​term​ ​is​ ​defined​ ​in​ ​12​ ​C.F.R.​ ​§617.700.

        18.      Kellner asserts a claim for relief against Cenlar and M&T Bank for

breaches​ ​of​ ​the​ ​specific​ ​rules​ ​under​ ​Regulation​ ​X​ ​as​ ​set​ ​forth,​ ​infra​.

        19.      Kellner has a private right of action under RESPA pursuant to 12

U.S.C. §2605(f) for the claimed breaches and such action provides for remedies

including​ ​actual​ ​damages,​ ​costs,​ ​statutory​ ​damages,​ ​and​ ​attorneys’​ ​fees.

        20.      Congress enacted the FDCPA to prohibit the “[u]se of abusive,

deceptive,​ ​and​ ​unfair​ ​debt​ ​collection​ ​practices.”​ ​15​ ​U.S.C​ ​§1692a.

        21.      Lakeview, M&T Bank and Pierce are each a debt collector, Kellner is

a consumer, and the Loan is a debt as defined by the FDCPA. Kellner asserts a

private right of action under the FDCPA, pursuant to 15 U.S.C. §1692k, for the

conduct of Lakeview, M&T Bank and Pierce in connection with collection of the

Loan and Kellner is entitled to recover actual damages, statutory damages, costs,

and​ ​attorneys’​ ​fees.

        22.      Kellner also asserts claims against Lakeview, Cenlar and M&T Bank

based upon state law breach of contract and for conduct which violates the Illinois

Consumer Fraud and Deceptive Business Practices Act (“Fraud Act”), 815 ILCS




                                                        5
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 6 of 43 PageID #:576




505/1 ​et seq​, which also entitles Kellner to recover actual damages, statutory

damages,​ ​punitive​ ​damages,​ ​costs,​ ​and​ ​attorneys’​ ​fees.

                          THE​ ​HISTORY​ ​OF​ ​KELLNER’S​ ​LOAN

        23.      The owner of Kellner’s Loan assigned a portion of that loan to

Lakeview and in turn and at different times to sub-servicers Cenlar and M&T. In

particular, the owner assigned the right to “service” the Loan by, ​inter alia,

assigning the contractual right to collect from Kellner periodic payments of

principal, interest the right to assess and collect late fees and other funds advanced,

the right to foreclose in the event of default, as well as the right to collect and

maintain escrow deposits for the payment of estimated mortgage insurance,

property​ ​taxes​ ​and​ ​hazard​ ​insurance.

        24.       Each servicer, Lakeview, Cenlar and M&T, as a partial assignee of

the Loan, was contractually obligated to apply payments and maintain in escrow

deposits​ ​made​ ​by​ ​Kellner​ ​in​ ​accordance​ ​with​ ​the​ ​terms​ ​of​ ​the​ ​Note​ ​and​ ​Mortgage.

        25.      With respect to all funds deposited by Kellner to escrow, each

servicer, Lakeview, Cenlar and M&T owed Kellner a fiduciary duty to maintain,

disburse​ ​and​ ​account​ ​to​ ​Kellner​ ​ ​for​ ​those​ ​funds​ ​according​ ​to​ ​the​ ​terms​ ​of​ ​the​ ​Loan.

        26.      At the origination of the Loan, Kellner was provided with a “First

Payment​ ​Letter”​ ​directing​ ​Kellner​ ​to​ ​pay​ ​on​ ​December​ ​1,​ ​2015​ ​the​ ​following:


                                                       6
 
     Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 7 of 43 PageID #:577




                           Principal​ ​and​ ​Interest                         $​ ​1,655.60
                           Homeowner’s​ ​Insurance                            ​ ​ ​ ​ ​ ​ ​103.67
                           Mortgage​ ​Insurance                                ​ ​ ​ ​ ​ ​ ​239.47
                           Property​ ​Taxes                                     ​ ​ ​ ​ ​ ​ ​389.81
                           City​ ​Property​ ​Taxes1                              ​ ​ ​ ​ ​ ​ ​243.51

                           TOTAL​ ​PAYMENT:                                   $​ ​2,631.96

A​ ​copy​ ​of​ ​the​ ​First​ ​Payment​ ​Letter​ ​is​ ​attached​ ​as​ ​Exhibit​ ​2​.

          27.       The amounts for escrow totalling $976.46 are based upon an estimate

provided to Kellner at origination of the Loan and set forth in an Initial Escrow

Account Disclosure Statement (“Initial Escrow Disclosure”), a copy of which is

attached​ ​as​ ​Exhibit​ ​3​.

          28.       The       Initial Escrow Disclosure discloses total property tax

disbursements​ ​estimated​ ​at​ ​$7,599.84​ ​for​ ​the​ ​2016​ ​calendar​ ​year.​ ​See​ ​Exhibit​ ​3​.

          29.       Kellner timely paid $2,632 for the payment due on December 1, 2015

to Cenlar and Cenlar applied that payment to the Loan on December 2, 2015. See

Customer​ ​Account​ ​Activity​ ​Statement​ ​attached​ ​as​ ​Exhibit​ ​4​.

          30.       On January 7, 2016, Cenlar sent Kellner a Loan Statement, attached as

Exhibit 5​, reflecting the application of his December 2015 payment. This Loan




1
 ​ ​Kellner​ ​is​ ​informed​ ​and​ ​believes​ ​that​ ​this​ ​reference​ ​is​ ​to​ ​property​ ​taxes​ ​as​ ​well.​ ​The​ ​Home​ ​has
two​ ​property​ ​index​ ​numbers​ ​[10​ ​13​ ​214​ ​018​ ​0000​ ​and​ ​10​ ​13​ ​214​ ​019​ ​0000]​ ​assigned​ ​by​ ​the
county.​ ​There​ ​is​ ​no​ ​“City​ ​Property​ ​Tax”​ ​in​ ​Evanston,​ ​Illinois.
                                                                 7
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 8 of 43 PageID #:578




Statement set forth an amount due for January 2016 of $2,631.96 and indicated that

the​ ​escrow​ ​balance​ ​for​ ​the​ ​Loan​ ​was​ ​then​ ​$4,039.39.

         31.      Kellner timely paid $2,632 for the payment due on January 1, 2016 to

Cenlar and Cenlar applied that payment to the Loan on January 7, 2016. ​See

Exhibits​ ​4​ ​and​ ​5​.

         32.      On February 4, 2016, Cenlar sent Kellner a Loan Statement, attached

as ​Exhibit 6​, reflecting the application of his January 2016 payment. This Loan

Statement set forth an amount due for March 2016 of $2,631.96 and indicated a

negative​ ​escrow​ ​balance​ ​of​ ​$8,388.47​ ​for​ ​the​ ​Loan.

         33.      The February 2016 Loan Statement indicated under the heading

“Transaction Activity (01/08/2016 to 02/04/2016)” a disbursement on 02/04/13 for

“County​ ​Tax”​ ​in​ ​the​ ​amount​ ​of​ ​$12,925.38.​ ​See​ ​Exhibit​ ​6​.

         34.      The Customer Account Activity Statement attached as ​Exhibit 4

reveals that Cenlar made an improper and unauthorized disbursement from

Kellner’s escrow in the amount of $12,925.38 and improperly advanced $8,388.47,

thus manufacturing a negative escrow balance as reflected on the February 2016

Loan Statement. This conduct by Cenlar resulted in the conversion of at least

$4,536.91 of funds belonging to Kellner which should have been maintained on his

behalf​ ​or​ ​paid​ ​on​ ​his​ ​behalf​ ​to​ ​proper​ ​parties.


                                                         8
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 9 of 43 PageID #:579




        35.     On March 4, 2016, Cenlar sent Kellner a Loan Statement, attached as

Exhibit 7​, reflecting the application of his February 2016 payment. This Loan

Statement set forth an amount due for April 2016 of $2,631.96 and indicated a

negative​ ​escrow​ ​balance​ ​of​ ​$7,651.38​ ​for​ ​the​ ​Loan.

        36.     The Customer Account Activity Statement attached as ​Exhibit 4

reveals that Cenlar refunded to itself $976.46 of the funds improperly advanced

and that it had failed to restore funds to Kellner’s escrow account which it had

improperly disbursed and had now converted. The amount of funds now converted

by​ ​Cenlar​ ​increased​ ​by​ ​$976.48.

        37.     For the months of April through October of 2016, Cenlar sent Kellner

a monthly Loan Statement, attached as ​Exhibits 8, 9, 10, ​11, 12, 13, ​and ​14​, each

reflecting​ ​an​ ​amount​ ​due​ ​of​ ​$2,631.96.

        38.     The Customer Account Activity Statement attached as ​Exhibit 4

reveals that Cenlar continued to refund to itself amounts improperly advanced and

that it had failed to restore funds to Kellner’s escrow account resulting in the

conversion​ ​of​ ​additional​ ​amounts.

        39.     The August 4, 2016 Loan Statement, ​Exhibit 12​, which Cenlar sent to

Kellner, indicated under the heading “Transaction Activity (07/14/2016 to

08/04/2016)” a disbursement on 07/14/16 for “County Tax” in the amount of


                                                   9
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 10 of 43 PageID #:580




$12,825.26. This Loan Statement set forth an amount due for September 2016 of

$2,631.96 and indicated a negative escrow balance of $16,791.79 for the Loan.

Cenlar had again made an improper and unauthorized disbursement, had

improperly advanced funds and had continued to convert funds paid by Kellner for

escrow​ ​deposits.

        40.     Kellner timely paid each payment for the period of April through

November,​ ​2016.​ ​See​ ​Exhibit​ ​4​.

        41.     On October 24, 2016, Cenlar sent Kellner its Annual Escrow Account

Disclosure Statement (“Second Escrow Disclosure”), which is attached as ​Exhibit

15​.

        42.     The Second Escrow Disclosure discloses total property taxes

estimated at $25,750.64 for the 2017 calendar year, indicates an escrow shortage of

$27,328.24 and recalculates the monthly payment due to be $6,430.88. ​See Exhibit

15​.

        43.     On November 4, 2016, Cenlar sent Kellner a Loan Statement, attached

as ​Exhibit 16​, which reflects an amount due for December 2016 in the amount of

$6,430.88​ ​and​ ​that​ ​there​ ​is​ ​an​ ​existing​ ​negative​ ​escrow​ ​balance​ ​of​ ​$15,128.96.

        44.     County property taxes for the Home for calendar year 2015, payable

in 2016, totaled $7,672.85. See tax payment information attached as ​Exhibit 17​.


                                                    10
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 11 of 43 PageID #:581




This amount is in the same approximate amount estimated for the Initial Escrow

Disclosure.

         45.      Cenlar made disbursements in amounts far in excess of real estate

taxes actually due on the Home. In particular, Cenlar claims to have disbursed

$12,925.28 in February 2016 and $12,825.26 in July 2016 when the actual amounts

due​ ​and​ ​paid​ ​to​ ​the​ ​county​ ​total​ ​$7,672.85​ ​for​ ​the​ ​year.​ ​See​ ​Exhibit​ ​17​.

         46.      On December 19, 2016, Cenlar sent Kellner a Loan Statement,

attached as ​Exhibit 18​, which reflects an amount due for January 2017 in the

amount of $13,119.00 and that there is an existing negative escrow balance of

$12,732.10. This statement reflects receipt by Cenlar of Kellner’s timely payment

of​ ​$2,632.00​ ​on​ ​December​ ​6,​ ​2016.

         47.      The December 19, 2016 Loan Statement, ​Exhibit 18​, also reflects an

improper​ ​assessment​ ​of​ ​a​ ​late​ ​charge​ ​of​ ​$257.24.

         48.      On December 20, 2016, Cenlar sent Kellner a Delinquent Notice,

attached as ​Exhibit 19​, which falsely states that Kellner’s payment due for

December 2016 is unpaid, falsely states that a late fee is due and falsely states an

Amount​ ​Due:​ ​$6,688.12.

         49.      Kellner paid $2,632.00 to Cenlar for the December 2016 payment and

this​ ​payment​ ​was​ ​received​ ​by​ ​Cenlar​ ​on​ ​December​ ​6,​ ​2016.​ ​See​ ​Exhibit​ ​4​.


                                                         11
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 12 of 43 PageID #:582




        50.        The Customer Account Activity Statement attached as ​Exhibit 4

reveals that Cenlar continued to refund to itself amounts improperly advanced and

that it had failed to restore funds to Kellner’s escrow account which it had

converted.

        51.      On January 3, 2017, Cenlar sent Kellner another letter, attached as

Exhibit 20​, again falsely stating that Kellner’s payments due for December 2016

and January 2017 are unpaid and that “[t]o cure this default, please remit the total

amount​ ​due​ ​of​ ​$13,119.00​ ​immediately.”

        52.      On January 6, 2017, Cenlar sent Kellner a letter, attached as ​Exhibit

21​, notifying him, falsely, that “your 2 mortgage payments for the months of

December and January have not been received and you are in default of your loan.”

The​ ​letter​ ​further​ ​advises​ ​that​ ​Kellner​ ​has​ ​been​ ​charged​ ​a​ ​late​ ​fee​ ​of​ ​$257.24.

        53.      On January 18, 2017, Cenlar sent Kellner a letter, attached as ​Exhibit

22​, notifying him, falsely, that he was in default and falsely stating an amount due

of $13,376.24. In this letter, Cenlar also improperly claims that if Kellner does not

pay the amounts claimed due that the Loan may be accelerated and the Home

foreclosed​ ​and​ ​sold.




                                                       12
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 13 of 43 PageID #:583




        54.      Commencing with the January 2017 payment and continuing to the

present, Cenlar falsely reported to one or more credit bureaus that Kellner had

failed​ ​to​ ​timely​ ​pay​ ​the​ ​Loan​ ​payments​ ​and​ ​was​ ​past​ ​due.

        55.      On February 17, 2017, Cenlar sent Kellner a Loan Statement, attached

as ​Exhibit 23​, which reflects an amount due for March 2017 in the amount of

$26,511.49​ ​and​ ​that​ ​there​ ​is​ ​an​ ​existing​ ​negative​ ​escrow​ ​balance​ ​of​ ​$27,365.25.

        56.      The February 17, 2017 Loan Statement, ​Exhibit 23​, which Cenlar sent

to Kellner, indicated under the heading “Transaction Activity (01/18/2017 to

02/17/2017)” a disbursement on 02/17/2017 for “County Tax” in the amount of

$14,162.86. In this statement, ​Exhibit 23​, Cenlar also improperly imposes and

requests that Kellner pay a late fee of $257.24 and a property inspection fee of

$16.25.

        57.      The Customer Account Activity Statement attached as ​Exhibit 4

reveals that Cenlar continued to refund to itself amounts improperly advanced and

that​ ​it​ ​had​ ​failed​ ​to​ ​restore​ ​funds​ ​to​ ​Kellner’s​ ​escrow​ ​account.

        58.      Cenlar transferred servicing of Kellner’s Loan to M&T Bank effective

March​ ​2,​ ​2017.​ ​See​ ​Exhibit​ ​24​.




                                                       13
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 14 of 43 PageID #:584




                KELLNER’S​ ​EFFORTS​ ​TO​ ​SEEK​ ​INFORMATION
           ​ ​FROM​ ​CENLAR​ ​AND​ ​TO​ ​HAVE​ ​ERRORS​ ​CORRECTED

       59.    Recognizing that Cenlar had made an egregious error with respect to

the servicing of his Loan, fearing foreclosure, and unable to resolve the issue by

paying amounts he knew to be correct, Kellner sought the assistance of legal

counsel.

       60.    By letter dated February 1, 2017, Kellner, through his counsel, sent

correspondence captioned “Notice of Errors under 12 C.F.R. §1024.35(b)(11) for

failing to properly calculate escrow payment; failure to apply payments pursuant to

12 C.F.R. §1024.35(b)(2) and for imposing fees for which the Servicer had no

reasonable basis to impose pursuant 12 C.F.R. § 1024.35(b)(5)” consisting of or

otherwise comprising a notice of errors pursuant to 12 C.F.R. §1024.35 alleging

that Cenlar had committed a number of errors in the servicing of the Loan (the

“Cenlar NOE #1”), specifically: (1) Pursuant to 12 C.F.R. § 1024.35(b)(11) for

failure to perform escrow analysis accurately and calculate proper escrow payment

in violation of 12 C.F.R. § 1024.17(c) and 12 U.S.C. § 2609(a); (2) pursuant to 12

C.F.R. § 1024.35(b)(2) for failure to apply an accepted payment to principal,

interest, escrow, or other charges under the terms of the mortgage loan and

applicable​ ​law​ ​for the February and March 2016 Payments; and (3) pursuant to 12



                                         14
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 15 of 43 PageID #:585




C.F.R. § 1024.35(b)(5) for imposing fees for which the Servicer had no reasonable

basis to impose, specifically, multiple late fees. A copy of Cenlar NOE #1 is

attached​ ​as​ ​Exhibit​ ​25.

        61.      By and through Cenlar NOE #1, Kellner brought Cenlar’s errors to the

servicer’s​ ​attention​ ​and​ ​requested​ ​that​ ​the​ ​errors​ ​be​ ​corrected.

        62.      Cenlar received Cenlar NOE #1 on February 7, 2017. See tracking

information​ ​attached​ ​as​ ​Exhibit​ ​26​.

        63.      On February 23, 2017, Kellner, through his counsel, sent

correspondence consisting of or otherwise comprising a request for information

pursuant to 12 C.F.R. §1024.36 requesting detailed information related to Cenlar’s

servicing of the Loan (the “Cenlar RFI”). A copy of the Cenlar RFI is attached as

Exhibit​ ​27​.

        64.      Cenlar received the Cenlar RFI on February 28, 2017. See tracking

information​ ​attached​ ​as​ ​Exhibit​ ​28​.

        65.      On February 23, 2017, Kellner, through his counsel, sent

correspondence consisting of or otherwise comprising a request for information

pursuant to 12 C.F.R. §1024.36 and 15 U.S.C. §1641(f)(2) requesting detailed

information related to the current owner and servicer of the Loan (the “Cenlar

TILA​ ​RFI”).​ ​A​ ​copy​ ​of​ ​the​ ​Cenlar​ ​RFI​ ​is​ ​attached​ ​as​ ​Exhibit​ ​29​.


                                                       15
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 16 of 43 PageID #:586




        66.     Cenlar received the Cenlar TILA RFI on February 28, 2017. See

tracking​ ​information​ ​attached​ ​as​ ​Exhibit​ ​30​.

        67.     Cenlar did not provide any acknowledgement or response to the

Cenlar​ ​NOE,​ ​the​ ​Cenlar​ ​RFI​ ​or​ ​the​ ​Cenlar​ ​TILA​ ​RFI.

        68.     By letter dated April 11, 2017, Kellner, through his counsel, sent

correspondence captioned “Notice of Errors under 12 C.F.R. §1024.36 and 15

U.S.C. § 1641(F)(2)” which alleged that Cenlar had committed servicing errors by

failing to timely acknowledge or respond to the Cenlar TILA RFI or to provide any

information requested (“Cenlar NOE #2”). A copy of Cenlar NOE #2 is attached as

Exhibit​ ​31.

        69.     Cenlar received the Cenlar NOE #2 on April 17, 2017. See tracking

information​ ​attached​ ​as​ ​Exhibit​ ​32​.

        70.     By letter dated April 11, 2017, Kellner, through his counsel, sent

correspondence captioned “Notice of Errors under 12 C.F.R. §1024.35(b)(11) for

violation of § 1024.35(e)” which alleged that Cenlar had committed servicing

errors by failing to timely acknowledge or respond to the Cenlar NOE or to provide

any information requested (“Cenlar NOE #3”). A copy of Cenlar NOE #3 is

attached​ ​as​ ​Exhibit​ ​33.




                                                   16
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 17 of 43 PageID #:587




        71.      Cenlar received the Cenlar NOE #3 on April 17, 2017. See tracking

information​ ​attached​ ​as​ ​Exhibit​ ​34​.

        72.      By entirely ignoring, failing to acknowledge and failing to respond or

provide any of the information requested by Kellner, Cenlar not only broke the law

but also completely frustrated Kellner’s earnest attempts to bring the errors in

servicing​ ​of​ ​his​ ​Loan​ ​to​ ​Cenlar’s​ ​attention​ ​so​ ​that​ ​those​ ​errors​ ​could​ ​be​ ​corrected.

        73.      By letter dated May 4, 2017, Cenlar provided a purported response to

Cenlar NOE #2 and Cenlar NOE #3 (the “Cenlar Response”), a copy of which is

attached​ ​as​ ​Exhibit​ ​35​.

        74.      The Cenlar Response did provide information regarding ownership,

servicing and transfer of servicing of the Keller Loan, but otherwise failed to

address the multiple servicing errors raised by Cenlar NOE #1, Cenlar NOE #2 and

Cenlar​ ​NOE​ ​#3.

               KELLNER’S​ ​EFFORTS​ ​TO​ ​SEEK​ ​INFORMATION
         ​ ​FROM​ ​M&T​ ​BANK​ ​AND​ ​TO​ ​HAVE​ ​ERRORS​ ​CORRECTED

        75.      On March 13, 2017, Kellner, through his counsel, sent correspondence

to M&T Bank consisting of or otherwise comprising a request for information

pursuant to 12 C.F.R. §1024.36 and a Qualified Written Request pursuant to 12

U.S.C. § 2605(e)(1)(B) requesting detailed information related to M&T Bank’s



                                                      17
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 18 of 43 PageID #:588




servicing of the Loan (the “M&T Bank RFI”). A copy of the M&T Bank RFI is

attached​ ​as​ ​Exhibit​ ​36​.

        76.      By letter dated April 4, 2017, Kellner, through his counsel, sent

correspondence captioned “Notice of Errors under 12 C.F.R. §1024.35(b)(11) for

failing to properly calculate escrow payment; failure to apply payments pursuant to

12 C.F.R. §1024.35(b)(2) and for imposing fees for which the Servicer had no

reasonable basis to impose pursuant 12 C.F.R. § 1024.35(b)(5)” consisting of or

otherwise comprising a notice of errors pursuant to 12 C.F.R. §1024.35 alleging

that Cenlar had committed a number of errors in the servicing of the Loan (the

“M&T Bank NOE #1”), specifically: (1) Pursuant to 12 C.F.R. § 1024.35(b)(11)

for failure to perform escrow analysis accurately and calculate proper escrow

payment in violation of 12 C.F.R. § 1024.17(c) and 12 U.S.C. § 2609(a); (2)

pursuant to 12 C.F.R. § 1024.35(b)(2) for failure to apply an accepted payment to

principal, interest, escrow, or other charges under the terms of the mortgage loan

and applicable law; and (3) pursuant to 12 C.F.R. § 1024.35(b)(5) for imposing

fees for which the Servicer had no reasonable basis to impose, specifically,

multiple​ ​late​ ​fees.​ ​A​ ​copy​ ​of​ ​M&T​ ​Bank​ ​NOE​ ​#1​ ​is​ ​attached​ ​as​ ​Exhibit​ ​37.​

        77.      M&T Bank sent Kellner a response (“M&T Bank RFI Response”) to

the M&T Bank RFI on March 29, 2017, providing information regarding the


                                                      18
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 19 of 43 PageID #:589




servicing of the Loan, an account transactional history and a payoff statement. A

copy​ ​of​ ​the​ ​M&T​ ​Bank​ ​RFI​ ​Response​ ​is​ ​attached​ ​as​ ​Exhibit​ ​38​.

        78.      M&T Bank did not address or respond to the errors alleged by Kellner

in the M&T Bank NOE #1. An examination of the transactional history provided

by M&T Bank with the M&T Bank RFI Response reveals that the errors alleged by

Kellner were not corrected, that M&T Bank simply continued to maintain an

improper escrow, that M&T Bank continued to improperly apply payments and to

convert escrow deposits made by Kellner, that M&T Bank continued to assess

improper fees and charges, and that M&T Bank had simply ignored Kellner’s

earnest​ ​efforts​ ​to​ ​have​ ​the​ ​errors​ ​in​ ​servicing​ ​corrected.

        79.       On March 17, 2017, M&T Bank sent Kellner a Mortgage Statement,

attached as ​Exhibit 39 which reflects an amount due for April 2017 in the amount

of $32,926.12 and that there is an existing negative escrow balance of $27,600.38.

This statement reflects receipt by M&T Bank of Kellner’s timely payment of

$2,632.00​ ​on​ ​March​ ​6,​ ​2017.

        80.      The March 17, 2017 Mortgage Statement, ​Exhibit 39​, also reflects an

improper​ ​assessment​ ​of​ ​late​ ​charges​ ​totaling​ ​$771.72.

        81.      On March 17, 2017, M&T Bank sent Kellner a letter, attached as

Exhibit 40​, captioned “DELINQUENCY INFORMATION” which falsely asserted


                                                      19
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 20 of 43 PageID #:590




that Kellner had failed to make required payments and that the total amount

required​ ​to​ ​bring​ ​the​ ​Loan​ ​current​ ​was​ ​$32,926.12.

        82.     On March 21, 2017, M&T Bank sent Kellner a letter, attached as

Exhibit 41​, captioned “PAYOFF STATEMENT” which falsely stated the amount

required to payoff the Loan and included a false claim that there existed an

Escrow/Impound Overdraft of $27,600.38 and Late Charges Due of $771.72. This

statement also reflects that M&T Bank assessed a “Recording Fee” of $50.00

which​ ​was​ ​not​ ​due​ ​or​ ​authorized.

        83.     On April 17, 2017, M&T Bank sent Kellner a Mortgage Statement,

attached as ​Exhibit 42 which reflects an amount due for May 2017 in the amount

of $39,385.00 and that there is an existing negative escrow balance of $26,864.30.

This statement reflects receipt by M&T Bank of Kellner’s timely payment of

$2,632.00​ ​on​ ​April​ ​5,​ ​2017.

        84.     The April 17, 2017 Mortgage Statement, ​Exhibit 42​, also reflects an

improper assessment of a late charges totaling $771.72, “Return Item/Other Fee(s)”

of​ ​$14.00​ ​and​ ​“Recoverable​ ​Corporate​ ​Advance”​ ​of​ ​$14.00.

        85.     In May 2017, M&T sent Kellner three Mortgage Statements: May 4,

2017 (​Exhibit 43​), May 12, 2017 (​Exhibit 44​), and May 16, 2017 (​Exhibit 45​),

which instruct Kellner to pay varying amounts ranging from $39,399 (​Exhibit 43​)


                                                   20
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 21 of 43 PageID #:591




to $13,473.20 (​Exhibit 44​). Kellner was provided with no explanation as to the

variance​ ​and​ ​was​ ​left​ ​totally​ ​confused​ ​as​ ​to​ ​the​ ​proper​ ​amount​ ​to​ ​pay.

        86.      Due to the actions of Cenlar and M&T Bank, Kellner currently

remains in a wrongful and false “default” status under the Loan despite his

continued​ ​performance​ ​under​ ​the​ ​terms​ ​of​ ​the​ ​Loan.

        87.      Throughout this entire ordeal, Kellner has merely wanted to pay what

he is obligated to pay and live his life without fear of losing his Home to

foreclosure. Even though he had made timely mortgage payments and correct

escrow deposits, he found himself in default, allegedly owing nearly $40,000 and

on the brink of foreclosure. At this point, Kellner through counsel, brought this

case​ ​against​ ​Lakeview,​ ​Cenlar​ ​and​ ​M&T​ ​on​ ​May​ ​29,​ ​2017.

          CONDUCT​ ​SUBSEQUENT​ ​TO​ ​THE​ ​FILING​ ​OF​ ​THIS​ ​CASE

        88.      Lakeview, Cenlar and M&T were each served with summons and a

copy of the initial complaint [Dkt. #1] filed herein and each appeared through

counsel.

        89.      Defendant Cenlar responded to the complaint by filing a motion to

dismiss​ ​which​ ​presently​ ​pends.

        90.      Shortly after commencement of the case and service on Lakeview and

M&T, counsel for Lakeview and M&T contacted Kellner’s counsel and advised


                                                       21
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 22 of 43 PageID #:592




Kellner’s counsel that the errors alleged were in fact in the process of being

corrected at the time of the filing of the case and that there was therefore no basis

for maintenance of the suit. These representations, made by counsel on behalf of

Lakeview​ ​and​ ​M&T,​ ​were​ ​false​ ​as​ ​demonstrated​ ​infra​.

        91.     On July 26, 2017, Lakeview and M&T filed their answer and

affirmative defenses to the complaint [Dkt. #25], therein asserting general denials

that errors had been committed. M&T filed an answer, withdrew that answer, and

subsequently​ ​filed​ ​a​ ​motion​ ​to​ ​dismiss​ ​which​ ​is​ ​pending​ ​before​ ​this​ ​Court.

                        WRONGFUL​ ​FORECLOSURE​ ​IS​ ​FILED

        92.     On August 24, 2017, Pierce, acting as attorney and agent for

Lakeview and/or M&T, filed suit against Kellner in the Circuit Court of Cook

County, Illinois, seeking to foreclose the Mortgage and collect the Note. That

action is captioned ​Lakeview Loan Servicing, LLC v. Roy Kellner, et al. Case No.

2017-CH-11606​ ​(the​ ​“Foreclosure​ ​Case”).

        93.     At the time the Foreclosure Case was filed, Kellner was not in default

of his obligations under the Loan, having made each and all required payments of

principal,​ ​interest​ ​and​ ​escrows.




                                                    22
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 23 of 43 PageID #:593




                                 THE​ ​DAMAGE​ ​TO​ ​KELLNER

          94.    Because of the wrongful and false “default” status on the Loan, Cenlar

and M&T Bank have imposed a number of unwarranted fees on the Loan including

improper late fees and improper default service fees, such as fees for property

inspection, recording fees, other unidentified fees for corporate advances, and fees

identified simply as “other,” when the Loan was wrongfully and incorrectly

deemed​ ​to​ ​be​ ​in​ ​default,​ ​that​ ​they​ ​refuse​ ​to​ ​remove​ ​from​ ​the​ ​Loan.

          95.    The actions of Cenlar and M&T Bank, in wrongfully and falsely

claiming that the Loan is in default, have caused Kellner to suffer harm to his

credit.

          96.    The Foreclosure Case is a public record which can never be removed.

Having a foreclosure filed and pending has had and continues to have a severe,

detrimental​ ​impact​ ​on​ ​Kellner’s​ ​credit.

          97.    Specifically, because of the wrongful and false “default” status on the

Loan, Cenlar has improperly and incorrectly reported to various Credit Reporting

Agencies​ ​that​ ​the​ ​Loan​ ​was​ ​“90-119​ ​Days​ ​Late.”​ ​ ​See​ ​Exhibit​ ​46​.

          98.    On information and belief, M&T Bank has improperly and incorrectly

reported to various, unknown Credit Reporting Agencies that the Loan was “30

Days​ ​Past​ ​Due”​ ​on​ ​at​ ​least​ ​one​ ​or​ ​more​ ​occasions.


                                                       23
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 24 of 43 PageID #:594




        99.      At the time that Kellner obtained the Loan, he received a disclosure

that his credit score was 783. On May 24, 2017, Kellner received information that

his​ ​credit​ ​score​ ​was​ ​646.

        100. The reduction in Kellner’s credit score is a direct result of the

improper reporting by Cenlar and M&T Bank and the continued default status of

the Loan. Kellner’s credit has been further impacted by the wrongful filing of the

Foreclosure​ ​Case.

        101. In early September 2017, Kellner applied to Movement Mortgage to

refinance the Loan and other real estate loans. Ron Graf, Sales Manager and Senior

Mortgage​ ​Consultant,​ ​sent​ ​an​ ​email​ ​to​ ​Kellner​ ​on​ ​September​ ​18,​ ​2017,​ ​stating:

            Roy – thank you for taking time out of your busy schedule to speak with me
            at the end of last week. I am unable to continue with a Mortgage Analysis,
            for you, due to you have a Foreclosure Initialed on your Credit Report from
            M&T​ ​Bank.

            I would like to discuss this with you further if possible. Your Credit Profile
            was near perfect until Central Loan marked you 30, 60 & 90 days late then
            M & T has reported you over 120+ days Delinquent & has started
            Foreclosure​ ​Procedures.

            Please let me know when would be a good time to speak. Please advise.
            Thanks​ ​in​ ​advance.


        102. Kellner has incurred damages as a direct result of the filing of the

Foreclosure Case. In particular, he had to pay $467.00 to file an appearance in the

Foreclosure Case. Additionally, he has had to pay attorneys’ fees to prepare and


                                                   24
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 25 of 43 PageID #:595




file a motion to dismiss the Foreclosure Case because Lakeview and its counsel

have taken no steps to seek dismissal despite their contrary representations.

Further, he has had to pay attorneys’ fees and certified mail expenses to prepare

and send M&T Bank RFI, M&T Bank NOE #1, Cenlar NOE #1, Cenlar NOE #2,

and​ ​Cenlar​ ​NOE​ ​#3,​ ​and​ ​review​ ​the​ ​responses​ ​thereto.

        103. Upon learning of the filing of the Foreclosure Case, Kellner’s counsel

contacted counsel for Lakeview and M&T to question why the Foreclosure Case

had​ ​been​ ​filed.

        104. On September 6, 2017, Counsel for M&T and Lakeview, Megan E.

Farrell of the law firm of Reed Smith, sent an email to Kellner’s counsel which

stated:

               Just to be clear, we are dismissing the foreclosure action as a showing of
               good faith, pending resolution of this action. It was not improper,
               because plaintiff is in default. Further, plaintiff has no damages that
               need to be mitigated based on the filing of a complaint that will be
               dismissed before any response is due. However, we will make our
               arguments​ ​to​ ​the​ ​Court.


        105. The statements made by counsel in the September 6, 2017 email to

Kellner’s counsel were false. Neither M&T, Lakeview, Pierce nor counsel for

M&T and Lakeview, Reed Smith, has taken any action to dismiss the Foreclosure

Case.




                                                   25
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 26 of 43 PageID #:596




        106. Moreover, in the September 6, 2017 email, counsel for M&T and

Lakeview falsely represented that “plaintiff is in default,” notwithstanding having

information​ ​that​ ​this​ ​statement​ ​was​ ​not​ ​true.

        107. The actions of Cenlar and M&T Bank, in improperly disbursing sums

for taxes not due and then advancing those funds from Kellner’s escrow account

created​ ​improper​ ​negative​ ​escrow​ ​balances.

        108. In subsequently refusing to correct their errors, Cenlar and M&T Bank

have caused Kellner to incur legal expenses and damages in having to send various

requests for information and notices of error to seek compliance with the law, and,

once Kellner had exercised all reasonable options at his disposal, in filing the

instant​ ​proceedings.

        109. Kellner sought to refinance the subject Loan and was initially offered

a rate of 3%, but due to the negative impact on his credit profile caused by the

default status of his Loan and the derogatory credit reporting, Kellner was

prevented from taking advantage of this refinance opportunity.        Additionally,

Kellner was prevented from taking advantage of opportunities to refinance loans

on investment property he held in Nevada and North Carolina. This refinancing

would​ ​have​ ​reduced​ ​Kellner’s​ ​rate​ ​from​ ​5%​ ​to​ ​4.25%.




                                                    26
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 27 of 43 PageID #:597




        110. The wrongful and willful actions of Cenlar and M&T Bank have

caused Kellner to suffer great emotional distress driven by the fear that he might

lose and be forced to leave his Home. This fear has resulted in loss of sleep,

anxiety,​ ​depression,​ ​embarrassment,​ ​and​ ​other​ ​significant​ ​emotional​ ​distress.

        111. At the time of the filing of this Complaint, M&T Bank has had more

than Eight Hundred Forty (840) consumer complaints lodged against it nationally,

specifically concerning the issue identified on the CFPB’s consumer complaint

database as as “loan servicing, payment, escrow account” related to mortgages.

Each such complaint is filed and cataloged in the CFPB’s publicly accessible

online​ ​database.​ ​(​http://www.consumerfinance.gov/complaintdatabase/​).

     COUNT​ ​ONE:​ ​AGAINST​ ​LAKEVIEW,​ ​CENLAR​ ​AND​ ​M&T​ ​BANK
                          [Breach​ ​of​ ​Contract]

        112. Kellner restates and incorporates all of his statements and allegations

contained​ ​in​ ​paragraphs​ ​1​ ​through​ ​111,​ ​in​ ​their​ ​entirety,​ ​as​ ​if​ ​fully​ ​rewritten​ ​herein.

        113. The Loan is an enforceable contract between Kellner and Lakeview,

Cenlar,​ ​and​ ​M&T​ ​Bank.

        114. Cenlar​ ​disbursed​ ​funds​ ​for​ ​taxes​ ​which​ ​were​ ​not​ ​due​ ​on​ ​the​ ​Home.

        115. As a result, Cenlar debited Kellner’s escrow account for the funds

advanced​ ​creating​ ​a​ ​negative​ ​escrow​ ​balance.



                                                       27
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 28 of 43 PageID #:598




         116. Cenlar then chose to repay itself from subsequent payments that

Kellner made, thereby converting and misapplying funds and otherwise failing to

apply​ ​the​ ​funds​ ​tendered​ ​in​ ​accordance​ ​with​ ​the​ ​terms​ ​of​ ​the​ ​Loan.

         117. Cenlar had no right to change the terms of the Loan or to impose an

escrow​ ​for​ ​taxes​ ​which​ ​were​ ​not​ ​properly​ ​paid.

         118. Kellner continued to make monthly payments in the amount of

$2,632.00​ ​as​ ​required​ ​and​ ​agreed​ ​to​ ​pursuant​ ​to​ ​the​ ​Loan.

         119. Kellner alerted Cenlar to the errors alleged but Cenlar took no actions

to​ ​correct​ ​its​ ​errors.

         120. Cenlar transferred servicing of the Loan to M&T Bank and thereafter

M&T, as alleged ​supra​, continued to maintain an improper escrow and to claim

funds​ ​were​ ​payable​ ​by​ ​Kellner​ ​which​ ​were​ ​not​ ​due.

         121.      Kellner alerted M&T Bank to the errors alleged but M&T Bank took

no​ ​actions​ ​to​ ​correct​ ​its​ ​errors.

         122. Kellner has fully performed his obligations pursuant to the Loan by

tendering payments due and by otherwise meeting each and every obligation

imposed​ ​by​ ​the​ ​parties’​ ​contract.




                                                     28
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 29 of 43 PageID #:599




        123. Implied in the Loan is a covenant of good faith and fair dealing. By

their conduct as alleged ​supra,​ Cenlar and M&T Bank breached that covenant and

thus​ ​breach​ ​their​ ​contractual​ ​obligations​ ​under​ ​the​ ​Loan.

        124. Cenlar and M&T Bank have each failed to exercise discretion in the

servicing of the Loan. Each owed Kellner a fiduciary duty to handle escrow

properly Each had discretion to adjust payments to recover escrow shortage or to

allow that shortage to exist. Cenlar and M&T Bank each breached their duty to

Kellner and exercised their discretion in an oppressive and abusive manner by

declining to apply Kellner’s tender of payments unfairly, in bad faith and without

reason​ ​and​ ​by​ ​otherwise​ ​misapplying​ ​those​ ​payments.

        125. Cenlar and M&T Bank have each failed to act in good faith and fairly

by failing to correct servicing errors which have been brought to their attention

when​ ​doing​ ​so​ ​was​ ​within​ ​their​ ​discretion​ ​as​ ​a​ ​mortgage​ ​loan​ ​servicer.

        126. Cenlar and M&T Bank actions have caused Kellner damage. In

particular, Cenlar and M&T Bank have held Kellner's Loan in a state of default. As

a direct and proximate result Kellner’s credit standing has been diminished, and

Kellner has had to incur legal fees to retain counsel to bring errors to the attention

of Cenlar and M&T Bank and ultimately to prepare, file and prosecute this case to

remedy​ ​the​ ​servicers’​ ​wrongful​ ​conduct.


                                                     29
 
      Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 30 of 43 PageID #:600




          127. As a direct result of the conduct of Cenlar and M&T, the Foreclosure

Case​ ​was​ ​filed​ ​against​ ​Kellner.

          128. Lakeview is liable for the conduct of its agents, Cenlar and M&T

Bank.

          WHEREFORE​, the Kellner prays for the entry of judgment in his favor and

against​ ​Lakeview,​ ​Cenlar​ ​and​ ​M&T​ ​Bank,​ ​jointly​ ​and​ ​severally,​ ​as​ ​follows:

                  A. A finding that Lakeview, Cenlar and M&T Bank breached the

                      Loan;

                  B. Awarding Kellner actual damages in an amount to be determined

                      at​ ​trial;

                  C. Awarding​ ​the​ ​Kellner​ ​costs​ ​and​ ​reasonable​ ​attorneys’​ ​fees;​ ​and

                  D. Granting​ ​such​ ​other​ ​and​ ​further​ ​relief​ ​as​ ​is​ ​just​ ​and​ ​proper.

                COUNT​ ​TWO:​ ​AGAINST​ ​LAKEVIEW​ ​AND​ ​CENLAR
    [Cenlar’s​ ​Failures​ ​to​ ​Properly​ ​Respond​ ​to​ ​Notices​ ​of​ ​Error​ ​in​ ​Violation​ ​of​ ​12
                                      C.F.R.​ ​§​ ​1024.35(e)]

          129. Kellner restates and incorporates all of his statements and allegations

contained​ ​in​ ​paragraphs​ ​1​ ​through​ ​111,​ ​in​ ​their​ ​entirety,​ ​as​ ​if​ ​fully​ ​rewritten​ ​herein.

          130. 12 C.F.R. § 1024.35(a) provides that a “servicer shall comply with the

requirements of this section for any written notice from the borrower that asserts an

error and that includes the name of the borrower, information that enables the


                                                       30
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 31 of 43 PageID #:601




servicer to identify the borrower's mortgage loan account, and the error the

borrower​ ​believes​ ​has​ ​occurred.”

        131. Comment 1 of the CFPB’s Official Interpretations of 12 C.F.R.

§1024.35(a) provides that “[a] notice of error is submitted by a borrower if the

notice​ ​of​ ​error​ ​is​ ​submitted​ ​by​ ​an​ ​agent​ ​of​ ​the​ ​borrower.”

        132. 12 C.F.R. § 1024.35(e)(1) provides that a servicer must respond to a

notice of error by either “[c]orrecting the error or errors identified by the borrower

and providing the borrower with a written notification of the correction, the

effective date of the correction, and contact information, including a telephone

number, for further assistance” or “[c]onducting a reasonable investigation and

providing the borrower with a written notification that includes a statement that the

servicer has determined that no error occurred, a statement of the reason or reasons

for this determination, a statement of the borrower's right to request documents

relied upon by the servicer in reaching its determination, information regarding

how the borrower can request such documents, and contact information, including

a​ ​telephone​ ​number,​ ​for​ ​further​ ​assistance.”

        133. Cenlar NOE #1, Cenlar NOE #2, and Cenlar NOE #3 each meet the

requirements of a notice of error as defined by 12 C.F.R. § 1024.35(a). Each was




                                                       31
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 32 of 43 PageID #:602




sent to Cenlar at the address designated by Cenlar for receipt of notices of error;

each​ ​was​ ​received​ ​by​ ​Cenlar​ ​at​ ​such​ ​address.

        134. Kellner has alleged by and through Cenlar NOE #1, Cenlar NOE #2

and Cenlar NOE #3 that Cenlar committed multiple errors pursuant to 12 C.F.R.

§1024.35(b)(2) by failing to provide all of the information and/or documentation

requested by and through the Cenlar RFI, the Cenlar TILA RFI, and its failure to

correct​ ​multiple​ ​servicing​ ​errors​ ​raised​ ​by​ ​Kellner.

        135. Cenlar’s actions are a pattern and practice of behavior in conscious

disregard​ ​for​ ​the​ ​Kellner’​ ​rights.

        136. As a result of Cenlar’s actions, Cenlar is liable to Kellner for actual

damages,​ ​statutory​ ​damages,​ ​costs,​ ​and​ ​attorneys’​ ​fees.

        137. Lakeview​ ​is​ ​liable​ ​for​ ​the​ ​conduct​ ​of​ ​its​ ​agent,​ ​Cenlar.

         ​WHEREFORE​, Kellner prays for the entry of judgment in his favor and

against​ ​Lakeview​ ​and​ ​Cenlar,​ ​jointly​ ​and​ ​severally,​ ​as​ ​follows:

                A. A​ ​finding​ ​that​ ​Lakeview​ ​and​ ​Cenlar​ ​violated​ ​12​ ​C.F.R.​ ​§1024.35;

                B. Awarding Kellner actual damages and statutory damages in an

                    amount​ ​to​ ​be​ ​determined​ ​at​ ​trial;

                C. Awarding​ ​Kellner​ ​costs​ ​and​ ​reasonable​ ​attorneys’​ ​fees;​ ​and

                D. Granting​ ​such​ ​other​ ​and​ ​further​ ​relief​ ​as​ ​is​ ​just​ ​and​ ​proper.


                                                     32
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 33 of 43 PageID #:603




           COUNT​ ​THREE:​ ​AGAINST​ ​LAKEVIEW​ ​AND​ ​M&T​ ​BANK
                    [M&T​ ​Bank’s​ ​Failure​ ​to​ ​Properly​ ​Respond​ ​to
             ​ ​Notices​ ​of​ ​Error​ ​in​ ​Violation​ ​of​ ​12​ ​C.F.R.​ ​§​ ​1024.35(e)]

        138. Kellner restates and incorporates all of his statements and allegations

contained​ ​in​ ​paragraphs​ ​1​ ​through​ ​111,​ ​in​ ​their​ ​entirety,​ ​as​ ​if​ ​fully​ ​rewritten​ ​herein.

        139. 12 C.F.R. § 1024.35(a) provides that a “servicer shall comply with the

requirements of this section for any written notice from the borrower that asserts an

error and that includes the name of the borrower, information that enables the

servicer to identify the borrower's mortgage loan account, and the error the

borrower​ ​believes​ ​has​ ​occurred.”

        140. Comment 1 of the CFPB’s Official Interpretations of 12 C.F.R.

§1024.35(a) provides that “[a] notice of error is submitted by a borrower if the

notice​ ​of​ ​error​ ​is​ ​submitted​ ​by​ ​an​ ​agent​ ​of​ ​the​ ​borrower.”

        141. 12 C.F.R. § 1024.35(e)(1) provides that a servicer must respond to a

notice of error by either “[c]orrecting the error or errors identified by the borrower

and providing the borrower with a written notification of the correction, the

effective date of the correction, and contact information, including a telephone

number, for further assistance” or “[c]onducting a reasonable investigation and

providing the borrower with a written notification that includes a statement that the

servicer has determined that no error occurred, a statement of the reason or reasons


                                                       33
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 34 of 43 PageID #:604




for this determination, a statement of the borrower's right to request documents

relied upon by the servicer in reaching its determination, information regarding

how the borrower can request such documents, and contact information, including

a​ ​telephone​ ​number,​ ​for​ ​further​ ​assistance.”

        142. M&T Bank NOE #1 meets the requirements of a notice of error as

defined by 12 C.F.R. § 1024.35(a). M&T Bank NOE #1 was sent to M&T Bank at

the address designated by M&T Bank for receipt of notices of error and was

received​ ​by​ ​M&T​ ​Bank​ ​at​ ​such​ ​address.

        143. Kellner has alleged by and through M&T Bank NOE #1 that M&T

Bank committed multiple errors pursuant to 12 C.F.R. §1024.35(b)(2) by failing to

provide all of the information and/or documentation requested by and through the

M&T Bank RFI, the the M&T Bank NOE #1, and its failure to correct multiple

servicing​ ​errors​ ​raised​ ​by​ ​Kellner.

        144. M&T Bank’s actions are a pattern and practice of behavior in

conscious​ ​disregard​ ​for​ ​Kellner’s​ ​rights.

        145. As a result of M&T Bank’s actions, M&T Bank is liable to Kellner for

actual​ ​damages,​ ​statutory​ ​damages,​ ​costs,​ ​and​ ​attorneys’​ ​fees.

        146. Lakeview​ ​is​ ​liable​ ​for​ ​the​ ​conduct​ ​of​ ​its​ ​agent,​ ​M&T​ ​Bank.

        WHEREFORE​, Kellner prays for the entry of judgment in his favor and


                                                    34
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 35 of 43 PageID #:605




against​ ​Lakeview​ ​and​ ​M&T​ ​Bank,​ ​jointly​ ​and​ ​severally,​ ​as​ ​follows:

                 A. Finding that Lakeview and M&T Bank violated 12 C.F.R.

                     §1024.36;

                 B. Awarding Kellner actual damages in an amount to be determined

                     at​ ​trial;

                 C. Awarding​ ​Kellner​ ​costs​ ​and​ ​reasonable​ ​attorneys’​ ​fees;​ ​and

                 D. Granting​ ​such​ ​other​ ​and​ ​further​ ​relief​ ​as​ ​is​ ​just​ ​and​ ​proper.

    COUNT​ ​FOUR:​ ​AGAINST​ ​LAKEVIEW,​ ​CENLAR​ ​AND​ ​M&T​ ​BANK
             [Violation​ ​of​ ​the​ ​Illinois​ ​Fraud​ ​Act,​ ​815​ ​ILCS​ ​505/1]

        147. Kellner restates and incorporates all of his statements and allegations

contained​ ​in​ ​paragraphs​ ​1​ ​through​ ​111,​ ​in​ ​their​ ​entirety,​ ​as​ ​if​ ​fully​ ​rewritten​ ​herein.

        148. The​ ​Illinois​ ​Fraud​ ​Act​ ​at​ ​815​ ​ILCS​ ​505/2,​ ​states,​ ​in​ ​relevant​ ​part:

                 Unfair methods of competition and unfair or deceptive
                 acts or practices, including but not limited to the use or
                 employment of any deception, fraud, false pretense, false
                 promise, misrepresentation or the concealment,
                 suppression or omission of any material fact, with intent
                 that others rely upon the concealment, suppression or
                 omission of such material fact... in the conduct of any
                 trade or commerce are hereby declared unlawful whether
                 any person has in fact been misled, deceived or damaged
                 thereby.

        149. The​ ​Illinois​ ​Fraud​ ​Act​ ​at​ ​815​ ​ILCS​ ​505/2,​ ​states,​ ​in​ ​relevant​ ​part:

                 Any person who suffers actual damage as a result of a
                 violation of this Act committed by any other person may

                                                       35
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 36 of 43 PageID #:606




                bring an action against such person. The court, in its
                discretion, may award actual economic damages or any
                other​ ​relief​ ​which​ ​the​ ​court​ ​deems​ ​proper.

        150. Cenlar and M&T Bank violated the Fraud Act, specifically 815 ILCS

505/2, by engaging in an unfair and deceptive act or practice by using fraud,

deception, and misrepresentation in their attempts to wrongfully breach the Loan

which Kellner had dutifully performed so as to move towards the foreclosure of the

Home and in fact file and maintain a wrongful foreclosure. In particular, each

servicer sent multiple, false and deceptive communications to Kellner, falsely

claimed that Kellner owed amounts not due, falsely claimed that Kellner was

required to pay late fees and other charges, falsely claimed the Loan to be in

default, falsely stated that the Home was subject to foreclosure, falsely represented

to third party credit reporting agencies that payments had not been timely made

and that the Loan was in default. Counsel for Lakeview and M&T made false

representations that the Foreclosure Case would be dismissed and that Kellner was

in​ ​default.

        151. M&T Bank made a clear misrepresentation by and through the M&T

Bank NOE Response in wrongfully claiming that it did not commit any errors in

imposing an escrow account on the Kellner Loan and falsely claiming amounts

which​ ​were​ ​not​ ​due​ ​despite​ ​errors​ ​having​ ​been​ ​brought​ ​to​ ​its​ ​attention​ ​repeatedly.


                                                    36
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 37 of 43 PageID #:607




        152. Cenlar and M&T Bank violated the Fraud Act by exercising discretion

given to each of them as escrowee in an abusive and oppressive manner. Each had

the option of allowing the escrow shortage created by the erroneous payment of the

wrong real estate taxes to exist. Each chose instead to recover that shortage from

Kellner,​ ​while​ ​ignoring​ ​efforts​ ​to​ ​bring​ ​the​ ​error​ ​to​ ​their​ ​attention.

        153. Cenlar and M&T Bank’s conduct occurred during the course of trade

or​ ​commerce.

        154. Cenlar and M&T Bank, by and through their conduct, intended that

Kellner would rely on its misrepresentations about the real estate taxes, the escrow

and​ ​the​ ​Loan,​ ​and​ ​the​ ​dismissal​ ​of​ ​the​ ​Foreclosure​ ​Case.

        155. Cenlar and M&T Bank’s conduct, as detailed, ​supra​, constitutes

unfair​ ​conduct​ ​under​ ​the​ ​Fraud​ ​Act.

        156. Cenlar and M&T Bank’s unfair and deceptive conduct was immoral,

unethical, unscrupulous and oppressive, especially in that Cenlar and M&T Bank

were each, at all times relevant, in a position of strength in relation to Kellner.

Each owed Kellner a duty of good faith and fair dealing. Each owed Kellner a

fiduciary duty as escrowee. Each had discretion with respect to its handling of

escrow.




                                                       37
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 38 of 43 PageID #:608




         157. Cenlar and M&T Bank’s conduct violates public policy, including,

RESPA, and the Fair Debt Collection Practices Act, because, as detailed herein,

Cenlar and M&T used false and deceptive representations in connection with their

collection​ ​of​ ​the​ ​Loan.

         158. On information and belief, Lakeview, Cenlar and M&T Bank, receive

compensation for servicing loans that are in default which is greater that the

compensation each receives for loans not in default. Additionally, Lakeview,

Cenlar and M&T Bank receive additional revenue for fees, including late fees,

corporate advances, property inspections, and similar fees, which are charged to

borrowers like Kellner for loans alleged to be in default. Thus, each has a financial

incentive to place a loan serviced in default. By their conduct, Lakeview, Cenlar

and M&T Bank sought to falsely place Kellner in default in order to receive greater

compensation as servicers of his Loan and each sought to deceive him into paying

those amounts through deception and multiple misrepresentation. Lakeview,

Cenlar and M&T Bank chose to ignore Kellner’s efforts to have the errors he

identified corrected simply because they could and because they were motivated by

profit​ ​rather​ ​than​ ​any​ ​desire​ ​to​ ​deal​ ​with​ ​Kellner​ ​in​ ​good​ ​faith​ ​and​ ​fairly.




                                                         38
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 39 of 43 PageID #:609




        159. As pled, ​supra​, Kellner has been harmed by, and continues to suffer

from harm resulting from, the unfair and deceptive practices of Cenlar and M&T

Bank​ ​in​ ​making​ ​misrepresentations​ ​described​ ​herein.

        160. In addition, Cenlar and M&T Bank’s conduct has caused Kellner to

suffer great emotional distress driven by the fear that he might lose the Home and

be forced to leave the Home which has resulted in loss of sleep, anxiety,

depression,​ ​embarrassment,​ ​and​ ​other​ ​significant​ ​emotional​ ​distress.

        161. Cenlar and M&T Bank’s conduct, as pled, ​supra​, was outrageous,

willful,​ ​and​ ​wanton,​ ​and​ ​it​ ​showed​ ​a​ ​reckless​ ​disregard​ ​for​ ​the​ ​Kellner’s​ ​rights.

        162. In addition, due to the nature of Cenlar and M&T Bank’s conduct,

Kellner​ ​is​ ​entitled​ ​to​ ​recover​ ​punitive​ ​damages.

        163. Lakeview is liable for the conduct of its agents, Cenlar and M&T

Bank.

        WHEREFORE​, the Kellner prays for the entry of judgment in his favor and

against​ ​Lakeview,​ ​Cenlar​ ​and​ ​M&T​ ​Bank,​ ​jointly​ ​and​ ​severally,​ ​as​ ​follows:

                 A. Finding that Lakeview, Cenlar M&T Bank violated the Illinois

                     Fraud​ ​Act;

                 B. Awarding​ ​Kellner​ ​statutory​ ​damages;

                 C. Awarding Kellner actual damages in an amount to be determined


                                                      39
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 40 of 43 PageID #:610




                      at​ ​trial;

                  D. Awarding Kellner punitive damages in an amount to be determined

                      at​ ​trial;

                  E. Awarding​ ​Kellner​ ​costs​ ​and​ ​reasonable​ ​attorneys’​ ​fees;​ ​and

                  F. Granting​ ​such​ ​other​ ​and​ ​further​ ​relief​ ​as​ ​is​ ​just​ ​and​ ​proper.

      COUNT​ ​FIVE:​ ​AGAINST​ ​LAKEVIEW,​ ​M&T​ ​BANK​ ​AND​ ​PIERCE
                 [Violation​ ​of​ ​the​ ​FDCPA,​ ​15​ ​U.S.C.​ ​§1692k​]

         164. Kellner restates and incorporates all of his statements and allegations

contained​ ​in​ ​paragraphs​ ​1​ ​through​ ​111,​ ​in​ ​their​ ​entirety,​ ​as​ ​if​ ​fully​ ​rewritten​ ​herein.

         165. M&T Bank, Lakeview and Pierce took the actions described, ​supra​, in

an​ ​attempt​ ​to​ ​collect​ ​a​ ​debt​ ​represented​ ​by​ ​the​ ​Loan.

         166. M&T Bank, Lakeview and Pierce violated 15 U.S.C. §1692(e)(2)

when they repeatedly and continuously falsely represented the character, amount,

or​ ​legal​ ​status​ ​of​ ​the​ ​Loan.

         167. M&T Bank and Lakeview, and counsel for each, falsely represented

to Kellner that he was in default on the Loan and that he was obligated to maintain

an escrow account for the Loan in an incorrect amount that M&T Bank and

Lakeview knew or had reason to know was in contravention of the terms of the

Loan.



                                                       40
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 41 of 43 PageID #:611




         168. M&T Bank and Lakeview violated 15 U.S.C. §1692(e)(5), by

accelerating the Loan and threatening to take an action - commence foreclosure

proceedings against Kellner - that cannot legally be taken as Kellner has fully

satisfied​ ​any​ ​and​ ​all​ ​obligations​ ​under​ ​the​ ​terms​ ​of​ ​the​ ​Loan.

         169. M&T Bank and Lakeview violated 15 U.S.C. §1692(e)(10) when each

used false representations, through false Loan statements that the Loan was

past-due​ ​and​ ​in​ ​default​ ​and​ ​deceptive​ ​means​ ​to​ ​attempt​ ​to​ ​collect​ ​the​ ​Loan.

         170. Pierce violated 15 U.S.C. §1692(e)(10) when it filed the Foreclosure

Case and therein falsely pled that Kellner was in default and that the plaintiff had

the​ ​right​ ​to​ ​file​ ​and​ ​maintain​ ​a​ ​foreclosure​ ​case.

         171. M&T Bank, Lakeview and Pierce each violated 15 U.S.C. §1692(f)

because their conduct, as outlined herein, constitutes an unconscionable means to

collect​ ​or​ ​to​ ​attempt​ ​to​ ​collect​ ​a​ ​debt.

         172. M&T Bank, Lakeview and Pierce each violated 15 U.S.C. §1692(d)

by​ ​employing​ ​an​ ​unfair​ ​and​ ​unconscionable​ ​means​ ​to​ ​collect​ ​the​ ​subject​ ​debt.

         173. As pled, ​supra​, Kellner has been harmed by, and continues to suffer

from harm resulting from, the unfair and deceptive practices of M&T Bank,

Lakeview and Pierce in wrongfully breaching the Loan and in making

misrepresentations​ ​to​ ​further​ ​effectuate​ ​their​ ​wrongdoing.


                                                         41
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 42 of 43 PageID #:612




       174. Kellner was compelled to retain counsel to send the various requests

for information and notices of errors described hereinabove, and once Kellner had

exercised all reasonable options at his disposal, the filing of the instant proceeding.

Thereafter, Kellner has incurred costs and attorney’s fee to defend against the

actions of M&T Bank, Lakeview and Pierce in filing and maintaining the

Foreclosure​ ​Case.

       175. Lakeview is liable for the conduct of its agents, M&T Bank and

Pierce.

      WHEREFORE​, Kellner prays for the entry of judgment in his favor and

against​ ​M&T​ ​Bank,​ ​Lakeview​ ​and​ ​Pierce,​ ​jointly​ ​and​ ​severally,​ ​as​ ​follows:

               A. Finding that M&T Bank, Lakeview and Pierce violated the

                   FDCPA;

               B. Awarding​ ​Kellner​ ​statutory​ ​damages;

               C. Awarding Kellner actual damages in an amount to be determined

                   at​ ​trial;

               D. Awarding​ ​Kellner​ ​costs​ ​and​ ​reasonable​ ​attorneys’​ ​fees;​ ​and

               E. Granting​ ​such​ ​other​ ​and​ ​further​ ​relief​ ​as​ ​is​ ​just​ ​and​ ​proper.




                                                    42
 
    Case: 1:17-cv-04048 Document #: 47 Filed: 09/25/17 Page 43 of 43 PageID #:613




                                          JURY​ ​DEMAND

        Plaintiff​ ​hereby​ ​demands​ ​trial​ ​by​ ​jury.

                                                            Respectfully​ ​submitted,

                                                            ROY​ ​KELLNER

                                                            By:​ ​/s/​ ​Rusty​ ​A.​ ​Payton
                                                            ​ ​ ​ ​ ​ ​ ​ ​Rusty​ ​A.​ ​Payton

Rusty​ ​A.​ ​Payton
Marc​ ​E.​ ​Dann
DannLaw
115​ ​S.​ ​LaSalle​ ​Street,​ ​Suite​ ​2600
Chicago,​ ​Illinois​ ​60603
email:​ ​payton@dannlaw.com
Ph.​ ​and​ ​Fax.​ ​(312)​ ​702-1000




                                                    43
